       Case: 23-8045   Document: 11   Page: 1    Date Filed: 10/16/2023




                                No. 23-8045

United States Court of Appeals for the Third Circuit
                          ____________________
                    IN RE: LTL MANAGEMENT, LLC,
                                              Debtor,
                         ____________________
                   LTL MANAGEMENT LLC AND
         THE AD HOC COMMITTEE OF SUPPORTING COUNSEL,
                                          Appellants,
                             v.
               ARNOLD & ITKIN LLP ON BEHALF OF
              TALC PERSONAL INJURY CLAIMANTS
          WHO ARE REPRESENTED BY ARNOLD & ITKIN LLP
                                           Appellee.
                     _____________________
    On Petition for Direct Appeal from the United States Bankruptcy Court
           for the District of New Jersey, Chapter 11 No. 23-12825
                            _____________________
          APPELLEE ARNOLD & ITKIN LLP’S RESPONSE TO
   JOINT PETITION FOR AUTHORIZATION OF DIRECT APPEAL
                           _____________________
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October 16, 2023
           Case: 23-8045   Document: 11     Page: 2      Date Filed: 10/16/2023




                           DISCLOSURE STATEMENT

      Under Federal Rule of Appellate Procedure 26.1 and 3rd Cir. L.A.R. 26.1.0,

undersigned counsel provides the following information:

      1.      The full name of every party that the attorney represents in the case:

The law firm of Arnold & Itkin LLP, on behalf of the thousands of talc personal

injury claimants it represents.

      2.      The names of all law firms whose partners or associates have

appeared for the party in the case (including proceedings in the bankruptcy court,

in the district court, or before an administrative agency) or are expected to appear

for the party in this Court: Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.;

Pachulski Stang Ziehl & Jones LLP.

      3.      Identify all parent corporations, if any, of the party, and any publicly

held company that owns 10% or more of the party’s stock: Appellee has no parent

corporation and has issued no stock.

      4.      Debtor information required by Federal Rule of Appellate Procedure

26.1(c)(1) and (2): Johnson & Johnson is the ultimate parent company of the

Debtor, Appellant LTL Management LLC.



 October 16, 2023                              /s/ David C. Frederick
                                               David C. Frederick


                                           1
         Case: 23-8045     Document: 11   Page: 3     Date Filed: 10/16/2023




                           RESPONSE TO PETITION

      Many characterizations in the Joint Petition filed by Johnson & Johnson

(“J&J”) subsidiary Legacy Talc Litigation Management LLC (“LTL”) and the Ad

Hoc Committee of Supporting Counsel (“AHC”) are incorrect. Nevertheless, this

case is appropriate for direct appeal.

      This appeal arises from LTL’s second attempt to misuse the bankruptcy

system to thwart plaintiffs whose ovarian cancer or mesothelioma resulted from

their use of J&J’s talc-based baby powder products. Courts have found that those

products contained asbestos—a fact J&J hid for decades. See Ingham v. Johnson

& Johnson, 608 S.W.3d 663, 715-17 (Mo. Ct. App. 2020), cert. denied, 141 S. Ct.

2716 (2021). J&J is among the world’s most successful companies, with a market

capitalization of more than $400 billion and an AAA credit rating. See In re LTL

Mgmt., LLC, 64 F.4th 84, 106 (3d Cir. 2023) (“LTL I”). In each of 2020 and 2021,

J&J distributed more than $13 billion to shareholders. See id. LTL is a company

that J&J created in 2021 “whose employees are all J&J employees.” Id. at 109. It

is “a shell company ‘formed,’ almost exclusively, ‘to manage and defend

thousands of talc-related claims’ while insulating” its multi-billion dollar consumer

health business and other assets of LTL’s predecessor (“Old Consumer”) that were

transferred to a second newly-formed corporation (“New Consumer”) when Old




                                          2
          Case: 23-8045   Document: 11     Page: 4    Date Filed: 10/16/2023




Consumer’s talc liabilities were transferred to LTL. Id. 1 LTL was formed to file

for bankruptcy and use Chapter 11 to resolve J&J’s talc liabilities, as well as those

of Old Consumer. J&J itself was a defendant in the talc personal injury suits filed

against Old Consumer. See id. at 94 (referring to ovarian cancer and mesothelioma

actions “pending against Old Consumer and J&J when LTL filed its Chapter 11

petition”).

      Appellee represents thousands of women who developed ovarian cancer

after using J&J’s talc-based baby powder products and have sued or plan to sue

J&J and its affiliates. Many women, including many that Appellee represents,

have died of cancer, and their estates now prosecute their claims.

      LTL filed for Chapter 11 bankruptcy two days after its formation. In

January 2023, this Court reversed the bankruptcy court’s denial of multiple

motions to dismiss LTL’s bankruptcy, holding that LTL’s bankruptcy was not filed

in good faith and remanding with instructions for dismissal. See id. at 111. In

doing so, this Court held that LTL’s bankruptcy did not serve a valid bankruptcy

purpose supporting good faith because LTL did not face financial distress. Id. at

110. The Court did not reach the alternative basis for the motions to dismiss that



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       As noted in the Joint Petition (at 8), the consumer health business of Old
Consumer that was transferred to New Consumer was later transferred to another
J&J subsidiary in a transaction that resulted in the creation of a new publicly traded
corporation.

                                          3
         Case: 23-8045      Document: 11    Page: 5     Date Filed: 10/16/2023




LTL’s petition was filed merely to obtain a tactical litigation advantage, but did

observe that “it is clear LTL’s bankruptcy filing aimed to beat back talc litigation

in trial courts,” which, coupled with the lack of financial distress, raised “the

specter of ‘abuse which must be guarded against to protect the integrity of the

bankruptcy system.’” Id. at 110 n.19 (quoting In re SGL Carbon Corp., 200 F.3d

154, 169 (3d Cir. 1999)).

      LTL unsuccessfully sought rehearing en banc and a stay of the mandate

pending certiorari. See In re LTL Mgmt. LLC, No. 22-2003 (3d Cir. Mar. 22 and

31, 2023), Dkts. 172, 180. It ultimately filed no certiorari petition. On April 4,

2023, the bankruptcy court implemented this Court’s mandate by entering final

judgment and dismissing LTL’s Chapter 11 case. In re LTL Mgmt. LLC, No. 21-

30589-MBK (Bankr. D.N.J. Apr. 4, 2023), Dkt. 3938.

      Two hours later, LTL again filed for bankruptcy. See In re LTL Mgmt.,

LLC, 652 B.R. 433, 439 (Bankr. D.N.J. 2023) (“Dismissal Order”). During that

two-hour interlude, and in an attempt to create financial distress where this Court

had found none, J&J and LTL agreed to terminate the previous funding agreement

that had provided LTL with contractually required access to more than $60 billion

in funding from J&J and New Consumer for the resolution of LTL’s talc liabilities

in or out of bankruptcy. That earlier funding agreement—which this Court likened

to “an ATM disguised as a contract”—was the lynchpin for the Court’s ruling that


                                           4
         Case: 23-8045     Document: 11     Page: 6     Date Filed: 10/16/2023




LTL did not face financial distress. See LTL I, 64 F.4th at 106-07, 109. Despite

the Court’s cautionary note about reading its logic “to suggest LTL need only part

with its funding backstop to render itself fit for a renewed filing,” id. at 109 n.18,

LTL and J&J agreed to scrap that funding agreement in anticipation of a renewed

Chapter 11 filing and replace it with new agreements that gave LTL no funding

rights against J&J outside of bankruptcy and limited its funding rights outside of

bankruptcy to funding obligations of New Consumer (rechristened “HoldCo”).

      Motions to dismiss filed on behalf of thousands of talc personal injury

claimants successfully challenged LTL’s claim that the new funding agreement

placed it in financial distress and the good faith of its renewed Chapter 11 filing.

On July 28, 2023, the bankruptcy court dismissed LTL’s second bankruptcy

petition for the same reasons its first one failed: the lack of any “valid bankruptcy

purpose” or “of imminent and immediate financial distress.” LTL Mgmt., 652 B.R.

at 443, 456.

      The Dismissal Order is correct. After a four-day evidentiary hearing, the

bankruptcy court found the record was “nearly the same” as in LTL I, where this

Court held that “LTL’s ability to fund its liabilities ‘exceeded any reasonable

projections available on the record.’” Id. at 448 (quoting LTL I, 64 F.4th at 109).

Despite relinquishing its funding rights against J&J outside of bankruptcy, LTL

remains highly solvent: it has $14.5 million in cash; ownership of a subsidiary with


                                           5
         Case: 23-8045     Document: 11     Page: 7     Date Filed: 10/16/2023




a royalty stream worth almost $400 million; and payment rights against a J&J

subsidiary (HoldCo) that has $1.3 billion in cash and non-cash assets (equity

interests) valued at $29.9 billion or a forced liquidation value of $22.3 billion. Id.

at 445-46. Further, independent forecasts estimated that HoldCo’s equity interests

“would translate into billions of dollars of dividends to HoldCo” over the next

decade. Id. at 446.

      On the other side of the ledger, LTL failed to show that the projected costs

associated with expected talc liability amounted to financial distress that would

justify bankruptcy. As in LTL I, LTL had conducted no serious analysis of the

claimed future litigation liabilities. “J&J ha[d] no aggregate estimate of talc

liability” and the cost projections LTL’s expert proffered were “dramatically at

odds with the historical run rates as to both trial costs and settlements.” Id. at 446-

47. Even accepting those flawed estimates, the “record demonstrates” that LTL

can easily cover its “total estimated worst-case scenario for talc liability” of $11

billion. Id. at 447. Accordingly, the court correctly held that LTL still “is not

sufficiently financially distressed to avail itself of bankruptcy.” Id. at 448.

      Appellee agrees, however, that this Court should accept direct appeal of the

Dismissal Order. That order “involves a matter of public importance.” 28 U.S.C.

§ 158(d)(2)(A)(i). At stake is whether J&J—a financially robust company that is

far from financial distress—can manipulate the bankruptcy process to use a


                                           6
         Case: 23-8045     Document: 11     Page: 8      Date Filed: 10/16/2023




Chapter 11 case for a made-for-bankruptcy shell subsidiary to shield J&J from

present and future talc personal injury suits. That “new” subsidiary has access to

well in excess of $20 billion of assets to resolve its talc liabilities. J&J’s plan seeks

to force tens of thousands of present talc personal injury claimants who are not

represented by AHC members (including claimants on whose behalf motions to

dismiss were filed) into a bankruptcy process. It also seeks to compel the same for

unknown future talc claimants who do not even get to vote on a plan. J&J’s design

is to use LTL’s Chapter 11 case to compel all present and future talc claimants to

submit to a global “settlement” that will insulate J&J from all present and future

talc liability, while placing the risk of an inadequately funded plan trust solely on

those claimants. See LTL I, 64 F.4th at 103 (noting “the possibility of

undervaluing future claims (and underfunding assets left to satisfy them)”). A

direct appeal of the Dismissal Order also will “materially advance” resolution of

this case. 28 U.S.C. § 158(d)(2)(A)(iii).

 Dated: October 16, 2023                        Respectfully submitted,

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                                            7
      Case: 23-8045   Document: 11   Page: 9     Date Filed: 10/16/2023




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                                     8
        Case: 23-8045      Document: 11     Page: 10     Date Filed: 10/16/2023




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Dated: October 16, 2023                   /s/ David C. Frederick
                                          David C. Frederick




                                            9
Case: 23-8045   Document: 11   Page: 11   Date Filed: 10/16/2023
Case: 23-8045   Document: 11   Page: 12   Date Filed: 10/16/2023
Case: 23-8045   Document: 11   Page: 13   Date Filed: 10/16/2023
Case: 23-8045   Document: 11   Page: 14   Date Filed: 10/16/2023
Case: 23-8045   Document: 11   Page: 15   Date Filed: 10/16/2023
       Case: 23-8045   Document: 11     Page: 16    Date Filed: 10/16/2023




Dated: October 16, 2023               /s/ David C. Frederick
                                      David C. Frederick




                                       15
        Case: 23-8045     Document: 11     Page: 17    Date Filed: 10/16/2023




                   CERTIFICATE OF BAR MEMBERSHIP

      Pursuant to 3rd Cir. L.A.R. 28.3(d) and 46.1, I, David C. Frederick, hereby

certify that I am a member in good standing of the bar of the United States Court of

Appeals for the Third Circuit.


Dated: October 16, 2023                  /s/ David C. Frederick
                                         David C. Frederick




                                          16
